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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

   NATIONAL STAFFING SOLUTIONS, INC,                       CASE NO.: _______________
   a Florida Corporation,

              Plaintiff,
   vs.

   YOUNG HOLDINGS AND
   INVESTMENTS, LLC d/b/a National
   Staffing Solutions, a South Carolina Limited
   Liability Company,

         Defendant.
   ________________________________/


                           COMPLAINT, DEMAND FOR JURY TRIAL,
                             AND INJUNCTIVE RELIEF SOUGHT

         Plaintiff, NATIONAL STAFFING SOLUTIONS, INC., a Florida Corporation

 (“Plaintiff”), sues Defendant, YOUNG HOLDINGS AND INVESTMENTS, LLC d/b/a

 National Staffing Solutions, a South Carolina Limited Liability Company (“Defendant”),

 and alleges as follows:

                            JURISDICTION, VENUE, AND PARTIES

         1.        This is an action for trademark infringement and unfair competition in

 violation of Section 43(a) of the Lanham Act (15 U.S.C. § 1125(a)) and trademark

 infringement and unfair competition under Florida common law. This action seeks

 injunctive relief, damages and other appropriate relief arising from Defendant’s willful acts

 of trademark infringement and unfair competition.




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        2.      This Court has subject matter jurisdiction over this action under 15 U.S.C.

 § 1121 and 28 U.S.C. §§ 1331 and 1338 because it involves substantial claims arising under

 the federal Lanham Act. This Court has supplemental jurisdiction over Plaintiff’s state law

 claims under 28 U.S.C. § 1367(a) because they are so closely related to the federal claims

 that they form part of the same case or controversy.

        3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 since Defendant

 conducts business in this judicial district, including maintaining and operating a website

 that is accessible to residents of the State of Florida through which it actively advertises

 and promotes its services to Florida residents, and a substantial part of the events giving

 rise to the Plaintiff’s claims occurred and are continuing to occur in this district.

        4.      Plaintiff is a Florida corporation, duly organized and existing under the laws

 of the State of Florida, having an office and place of business at 603 6th St NW, Winter

 Haven, FL 33881.

        5.      Upon information and belief, Defendant is a South Carolina limited liability

 company organized and existing under the laws of the State of South Carolina, having an

 office and place of business at 202 Stallings Road, Taylors, South Carolina 29687.

                                            FACTS

        6.      Plaintiff has continuously used the character mark “NATIONAL

 STAFFING SOLUTIONS” in commerce in connection with employment agency services,

 namely, temporary, and permanent placement of healthcare professionals, across the

 United States since 2006.

        7.      Plaintiff has continuously used the design mark:



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 in commerce in connection with employment agency services, namely, temporary, and

 permanent placement of healthcare professionals, across the United States since 2018.

        8.      Plaintiff has applied for federal registration of both its character and design

 marks and owns NATIONAL STAFFING SOLUTIONS, U.S. Application No. 88104778,

 and NATIONAL STAFFING SOLUTIONS design, U.S. Application No. 88636348. Both

 marks have been approved and published by the United States Patent and Trademark

 Office. See Exhibit A, Composite of Trademark Official Gazette Publication

 Confirmations. The opposition period for both applications has closed and the marks are

 expected to register in due course.

        9.      Plaintiff’s marks have been used to identify and distinguish Plaintiff’s

 services in relevant trade channels throughout the United States. Plaintiff has made itself

 known to the public through a variety of means including through its website,

 https://www.nationalstaff.com/, online advertising, social media, and attending industry

 conferences and career expos.

        10.     Plaintiff has invested substantial time, effort and financial resources

 promoting its NATIONAL STAFFING SOLUTIONS marks in connection with the

 marketing and sale of its services in interstate commerce. As a result of these and other

 efforts, the NATIONAL STAFFING SOLUTIONS marks have become, through

 widespread and favorable public acceptance and recognition, an asset of substantial value




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 as a symbol of Plaintiff, its quality services, and its goodwill. The consuming public

 recognizes the NATIONAL STAFFING SOLUTIONS marks and associates it with

 Plaintiff.

         11.    Plaintiff’s mark has acquired distinctiveness under Section 2(f) of the

 Lanham Act as established by the USPTO’s acceptance and publication of U.S.

 Application No. 88104778, including Plaintiff’s Supplemental Declaration and Evidence

 in Support of Assertion of Distinctiveness under §2(f) of the Trademark Act.

         12.    Notwithstanding Plaintiff’s rights in the trademark NATIONAL

 STAFFING SOLUTIONS and logo, Defendant adopted and used the identical trademark

 in interstate commerce in connection with the sale and offering for sale of the same services

 as Plaintiff, i.e. employment agency and staffing services. Defendant’s logo also

 incorporates in full Plaintiff’s NATIONAL STAFFING SOLUTIONS mark. 1 Defendant

 also owns and operates the https://www.nationalstaffingsolutionsc.com/ domain name

 which directly infringes upon Plaintiff’s trademark and has further advertised its services

 under the infringing trademark on the website and social media.

         13.    Plaintiff’s use of the NATIONAL STAFFING SOLUTIONS mark predates

 Defendant’s and Plaintiff thus has priority over Defendant.




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        14.     Without Plaintiff’s consent, Defendant has used and continues to use the

 infringing NATIONAL STAFFING SOLUTIONS mark and logo in connection with the

 sale, offering for sale, distribution, or advertising of its services on a nationwide scale and

 in direct conflict with Plaintiff’s services and use of the mark.

        15.     Defendant has engaged in its infringing activity despite having actual

 knowledge of Plaintiff’s use of the NATIONAL STAFFING SOLUTIONS mark and logo.

 To date Defendant has failed to respond to Plaintiff’s demand for it to cease and desist

 from further infringing activity. See Exhibit B. Plaintiff notes that following its demand,

 Defendant changed its name on its website to “NATIONAL STAFFING SOLUTION”

 which is the legal and functional equivalent to Plaintiff’s mark and still confusingly similar.

 Defendant also continues to use the same logo which incorporates Plaintiff’s mark in full.

        16.     Defendant offers confusingly similar services, through similar marketing

 channels, across the United States as Plaintiff, all under the identical NATIONAL

 STAFFING SOLUTIONS mark as Plaintiff. Defendant’s actions are likely to mislead the

 public into concluding that its services originate with or are authorized by Plaintiff, which

 will damage both Plaintiff and the public. Plaintiff has no control over the quality of

 services offered by Defendant and because of the source confusion caused by Defendant,

 Plaintiff has lost control over its valuable goodwill.

        17.     Upon information and belief, Defendant has advertised and offered its

 services for sale using the NATIONAL STAFFING SOLUTIONS mark with the intention

 of misleading, deceiving, or confusing consumers as to the origin of its services and of

 trading on Plaintiff’s reputation and goodwill. Defendant’s use of Plaintiff’s NATIONAL



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 STAFFING SOLUTIONS mark constitutes willful, deliberate, and intentional trademark

 infringement.

                 COUNT I: FEDERAL TRADEMARK INFRINGEMENT

         18.     Plaintiff realleges and incorporates by reference the allegations of

 paragraphs 6-17 as though fully set forth herein.

         19.     Plaintiff owns a valid trademark entitled to protection under the Lanham

 Act.

         20.     Defendant’s     unauthorized       use   of   the   NATIONAL   STAFFING

 SOLUTIONS mark and logo in interstate commerce as described above constitutes

 trademark infringement under 15 U.S.C. § 1125(a) and has caused and is likely to continue

 to cause consumer confusion, mistake, or deception.

         21.     Defendant has acted with actual or constructive knowledge of Plaintiff’s

 mark, and upon information and belief, with deliberate intention to confuse consumers, or

 willful blindness to Plaintiff’s rights.

         22.     As a direct and proximate result of Defendant’s trademark infringement,

 Plaintiff has suffered and will continue to suffer irreparable loss of income, profits and

 goodwill and Defendant has and will continue to unfairly acquire income, profits, and

 goodwill.

         23.     Defendant’s trademark infringement will cause further irreparable injury to

 Plaintiff if Defendant is not restrained by this Court from further violation of Plaintiff’s

 rights. Plaintiff’s remedies at law are inadequate to compensate for this harm and damage.




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                   COUNT II: FEDERAL UNFAIR COMPETITION
                     AND FALSE DESIGNATION OF ORIGIN

        24.     Plaintiff realleges and incorporates by reference the allegations of

 paragraphs 6-17 as though fully set forth herein.

        25.     Plaintiff owns a valid trademark entitled to protection under the Lanham

 Act.

        26.     Defendant’s unauthorized marketing and sale of its services in interstate

 commerce using the NATIONAL STAFFING SOLUTIONS mark and logo constitutes a

 use of a false designation of origin or false representation that wrongfully and falsely

 designates Defendant’s services as originating from or connected with Plaintiff in violation

 of 15 U.S.C. § 1125(a). The actions of Defendant as alleged herein constitute intentional,

 willful, knowing, and deliberate unfair competition.

        27.     Defendant’s use of a mark which is identical to Plaintiff’s mark in

 connection with identical or highly similar services is likely to cause confusion, or to cause

 mistake, or to deceive as to the affiliation, connection, or association of Defendant with

 Plaintiff, or as to the origin, sponsorship, or approval of Defendant’s services or

 commercial activities by Plaintiff.

        28.     As a direct and proximate result of Defendant’s false designation of origin

 and unfair competition, Plaintiff has suffered and will continue to suffer irreparable loss of

 income, profits and goodwill and Defendant has and will continue to unfairly acquire

 income, profits, and goodwill.

        29.     Defendant’s false designation of origin and unfair competition will cause

 further irreparable injury to Plaintiff if Defendant is not restrained by this Court from


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 further violation of Plaintiff’s rights. Plaintiff’s remedies at law are inadequate to

 compensate for this harm and damage.

    COUNT III: FLORIDA COMMON LAW TRADEMARK INFRINGEMENT

        30.     Plaintiff realleges and incorporates by reference the allegations of

 paragraphs 6-17 as though fully set forth herein.

        31.     Plaintiff owns a valid trademark entitled to protection under Florida

 common law.

        32.     Defendant’s    unauthorized       use   of   the   NATIONAL      STAFFING

 SOLUTIONS mark and logo in interstate commerce as described above constitutes

 trademark infringement and has caused and is likely to continue to cause consumer

 confusion, mistake, or deception.

        33.     As a direct and proximate result of Defendant’s trademark infringement,

 Plaintiff has suffered and will continue to suffer irreparable loss of income, profits and

 goodwill and Defendant has and will continue to unfairly acquire income, profits, and

 goodwill.

        34.     Defendant’s trademark infringement will cause further irreparable injury to

 Plaintiff if Defendant is not restrained by this Court from further violation of Plaintiff’s

 rights. Plaintiff’s remedies at law are inadequate to compensate for this harm and damage.

         COUNT IV: FLORIDA COMMON LAW UNFAIR COMPETITION

        35.     Plaintiff realleges and incorporates by reference the allegations of

 paragraphs 6-17 as though fully set forth herein.

        36.     Defendant has infringed Plaintiff’s mark in violation of its trademark rights.



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        37.     Defendant has demonstrated a deliberate intent to trade off the goodwill of

 Plaintiff’s mark as a means of increasing Defendant’s own sales at the expense of Plaintiff.

 Defendant’s deliberate use of Plaintiff’s mark in connection with identical or highly

 similar services is likely to cause confusion, or to cause mistake, or to deceive as to the

 affiliation, connection, or association of Defendant with Plaintiff, or as to the origin,

 sponsorship, or approval of Defendant’s services or commercial activities by Plaintiff.

        38.     Defendant’s deliberate conduct is likely to result in consumers purchasing

 Defendant’s services in mistaken belief that it originates from Plaintiff.

        39.     As a direct and proximate result of Defendant’s unfair competition, Plaintiff

 has suffered and will continue to suffer irreparable loss of income, profits and goodwill

 and Defendant has and will continue to unfairly acquire income, profits, and goodwill.

        40.     Defendant’s unfair competition will cause further irreparable injury to

 Plaintiff if Defendant is not restrained by this Court from further violation of Plaintiff’s

 rights. Plaintiff’s remedies at law are inadequate to compensate for this harm and damage.

     COUNT V: FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
                    (“FDUTPA,” Fla. Stat. § 501.204)

        41.     Plaintiff realleges and incorporates by reference the allegations of

 paragraphs 6-17 as though fully set forth herein.

        42.     Defendant’s     unauthorized       use   of   the   NATIONAL    STAFFING

 SOLUTIONS mark and logo in interstate commerce as described above constitutes

 trademark infringement and has caused and is likely to continue to cause consumer

 confusion, mistake, or deception.




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         43.     Trademark infringement is an unfair and deceptive trade practice for

  purposes of FDUTPA.

         44.     Defendant has engaged in a deceptive act or unfair practice that is likely to

  mislead consumers and that caused Plaintiffs actual damages or aggrievement, including

  damages to Plaintiff’s goodwill and reputation.

         45.     As a direct and proximate result of Defendant’s unfair and deceptive trade

  practice, Plaintiff has suffered and will continue to suffer irreparable loss of income, profits

  and goodwill and Defendant has and will continue to unfairly acquire income, profits, and

  goodwill.

         46.     Defendant’s unfair and deceptive trade practice will cause further

  irreparable injury to Plaintiff if Defendant is not restrained by this Court from further

  violation of Plaintiff’s rights. Plaintiff’s remedies at law are inadequate to compensate for

  this harm and damage.

                                   REQUEST FOR RELIEF

         WHEREFORE, in consideration of the foregoing, Plaintiff respectfully requests

  that this Court enter judgment in its favor on each and every claim set forth above and enter

  an Order granting it the following relief:

     A. Entering a judgment that Plaintiff’s NATIONAL STAFFING SOLUTIONS

         trademark has been and continues to be infringed by Defendant in violation of 15

         U.S.C. § 1125(a);




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     B. Entering a judgment that Defendant’s use of the NATIONAL STAFFING

        SOLUTIONS trademark constitutes federal unfair competition in violation of 15

        U.S.C. § 1125(a);

     C. Entering a judgment that Defendant’s use of the NATIONAL STAFFING

        SOLUTIONS trademark constitutes common law trademark infringement and

        common law unfair competition under Florida law;

     D. Permanently enjoining and restraining the Defendant and each of its agents,

        representatives, employees, officers, attorneys, successors, assigns, affiliates, and

        any persons in privity or active concert or participation with any of them from using

        the NATIONAL STAFFING SOLUTIONS trademark, with or without its

        accompanying logo or any other designation, alone or in combination with other

        words or symbols, as a trademark or trade name component or otherwise, to market,

        advertise, distribute or identify Defendant’s services where that designation would

        create a likelihood of confusion, mistake or deception with Plaintiff’s mark and

        services.

     E. Pursuant to 15 U.S.C. § 1116(a), directing Defendant to file with the Court and

        serve on Plaintiff within thirty (30) days after issuance of an injunction, a report in

        writing and under oath setting forth in detail the manner and form in which

        Defendant has complied with the injunction;

     F. Pursuant to 15 U.S.C. § 1118, requiring that Defendant and all others acting under

        Defendant’s authority, at their cost, be required to deliver up and destroy all




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         devices, literature, advertising, labels, and other material in their possession bearing

         the infringing designation;

     G. Ordering Defendant to transfer the https://www.nationalstaffingsolutionsc.com/

         domain name to Plaintiff;

     H. Awarding Plaintiff all damages it sustained as the result of Defendant’s acts of

         infringement and unfair competition, said amount to be trebled, together with

         prejudgment interest, pursuant to 15 U.S.C. § 1117;

     I. Awarding Plaintiff all profits received by Defendant from sales and revenues of

         any kind made as a result of its willful and intentional infringing actions, said

         amount to be trebled, after an accounting, pursuant to 15 U.S.C. § 1117;

     J. Awarding Plaintiff its reasonable attorneys’ fees and costs pursuant to 15 U.S.C.

         § 1117; and

     K. Granting Plaintiff such other and further relief as the Court may deem just.

                               DEMAND FOR JURY TRIAL

         Plaintiff hereby demands trial by jury on all issues so triable.

  Respectfully submitted this 1st day of May 2020.

                                                By: /s/ Linnea M. Eberhart____
                                                Adam C. Losey, Esq.
                                                Florida Bar No. 69658
                                                Linnea M. Eberhart, Esq.
                                                Florida Bar No. 119510
                                                LOSEY PLLC
                                                1420 Edgewater Dr.
                                                Orlando, FL 32804
                                                (407) 491-4842
                                                alosey@losey.law; leberhart@losey.law;
                                                docketing@losey.law
                                                Attorneys for Plaintiff


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